              Case 1:17-cv-01909-SCJ Document 1 Filed 05/25/17 Page 1 of 8




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

BRIA MADDOX,                                )
                                            )
                 Plaintiff,                 )
                                            )         CIVIL ACTION NO.
v.
                                            )
CBE GROUP, INC.,                            )        ____________________
                                            )
                 Defendant.                 )
                                            )

                               NOTICE OF REMOVAL
          Pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446, Defendant CBE

Group, Inc. ("Defendant"), by and through its undersigned counsel, appearing

specially so as to preserve any and all defenses available under Rule 12 of the

Federal Rules of Civil Procedure, any and all defenses under the federal laws of

bankruptcy and specifically preserving the right to demand arbitration pursuant to

contractual agreements and the Federal Arbitration Act, 9 U.S.C. §§ 1, et seq.,

hereby gives notice of the removal of this action from the Magistrate Court of

Fulton County, Georgia, to the United States District Court for the Northern

District of Georgia, Atlanta Division. As grounds in support of this Notice of

Removal, Defendant respectfully states as follows:




29738029 v1
               Case 1:17-cv-01909-SCJ Document 1 Filed 05/25/17 Page 2 of 8




                              I. PROCEDURAL HISTORY
          1.      Plaintiff Bria Maddox (the "Plaintiff") commenced this action on or

about April 19, 2017, by filing a Statement of Claim and Complaint ("Complaint")

against Defendant in the Magistrate Court of Fulton County, Georgia, Civil Action

File No. 17 MS087703.


          2.      The Complaint was served on Defendant on April 26, 2017.

          3.      Plaintiff's Complaint purports to assert claims against Defendant for

violations of the Telephone Consumer Protection Act ("TCPA"), 47 U.S.C. § 227,

and in connection therewith seeks various damages, including fees, costs, and

statutory damages. (See generally Complaint). Specifically, Plaintiff alleges that

Defendant placed calls to her wireless phone number using an automatic telephone

dialing system without her consent in violation of the TCPA.

          4.      This case is properly removable pursuant to 28 U.S.C. § 1441 because

federal question jurisdiction is present. In pertinent part, section 1441 provides as

follows:

          Except as otherwise expressly provided by Act of Congress, any civil
          action brought in a State court of which the district courts of the
          United States have original jurisdiction, may be removed by the
          defendant or the defendants, to the district court of the United States
          for the district and division embracing the place where such action is
          pending.



29738029 v1                                  2
               Case 1:17-cv-01909-SCJ Document 1 Filed 05/25/17 Page 3 of 8




28 U.S.C. § 1441(a).

                       II. FEDERAL QUESTION JURISDICTION
          5.      Federal district courts have "original jurisdiction of all civil actions

arising under the Constitution, laws, or treatises of the United States." 28 U.S.C. §

1331. Removal jurisdiction based upon a federal question exists when a federal

question is presented on the face of a plaintiff's complaint. Caterpillar, Inc. v.

Williams, 482 U.S. 386, 392 (1987).

          6.      This is a civil action arising under the Constitution, laws, or treatises

of the United States, because Plaintiff is asserting a claim against Defendant based

upon an alleged violation of the TCPA, which is a federal consumer protection

statute. [See Complaint; see also 47 U.S.C. § 227, et seq.]

          7.      Accordingly, Plaintiff's TCPA claim arises under the laws of the

United States and could have been originally filed in this Court. See Mims v.

Arrow Fin. Services, LLC, 565 U.S. 368, 387 (2012) ("Because federal law creates

the right of action and provides the rules of decision, Mims's TCPA claim, in 28

U.S.C. § 1331's words, plainly 'aris [es] under' the 'laws ... of the United States.'").

                 III. ADOPTION AND RESERVATION OF DEFENSES
          8.      Nothing in this Notice of Removal shall be interpreted as a waiver or

relinquishment of any of Defendant's rights to assert any defense or affirmative



29738029 v1                                    3
               Case 1:17-cv-01909-SCJ Document 1 Filed 05/25/17 Page 4 of 8




matter, including, but not limited to, the defenses of: (1) lack of jurisdiction over

the person; (2) improper venue; (3) insufficiency of process; (4) insufficiency of

service of process; (5) improper joinder of claims and/or parties; (6) failure to state

a claim; (7) the mandatory arbitrability of some or all of the claims; (8) failure to

join indispensable parties; or (9) any other pertinent defense available under

O.C.G.A. § 9-11-12 or Fed. R. Civ. P. 12, any state or federal statute, or otherwise.

                         IV. PROCEDURAL REQUIREMENTS
          9.      This case is a civil action within the meaning of the Acts of Congress

relating to the removal of cases.

          10.     True and correct copies of "all process, pleadings, and orders" served

upon Defendant to date are attached hereto as Exhibit "A" in conformity with 28

U.S.C. § 1446(a). There has been no other process, pleadings, or orders served

upon Defendant to date in this case.

          11.     This Notice of Removal is filed within thirty days after service on

Defendant of the Complaint and is, therefore, filed within the time frame set forth

in 28 U.S.C. § 1446.

          12.     Defendant has heretofore sought no similar relief.




29738029 v1                                   4
              Case 1:17-cv-01909-SCJ Document 1 Filed 05/25/17 Page 5 of 8




          13.    The United States District Court for the Northern District of Georgia,

Atlanta Division, is the court and division embracing the place where this action is

pending in state court.

          14.    Promptly after the filing of this Notice of Removal, Defendant is

filing a copy of same with the clerk of the Magistrate Court of Fulton County,

Georgia, as well as a Notice of Filing Notice of Removal. Written notice of the

filing of this Notice of Removal will also promptly be served upon counsel for

Plaintiff.

          15.    Defendant reserves the right to supplement this Notice of Removal by

adding any jurisdictional defenses that may independently support a basis for

removal.

          WHEREFORE, PREMISES CONSIDERED, Defendant prays that this

Court take jurisdiction of this action and issue all necessary orders and process to

remove this action from the Magistrate Court of Fulton County, Georgia, to the

United States District Court for the Northern District of Georgia, Atlanta Division.




29738029 v1                                  5
              Case 1:17-cv-01909-SCJ Document 1 Filed 05/25/17 Page 6 of 8




          Respectfully submitted this 25th day of May, 2017.

                                             /s/ Rachel R. Friedman
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                                            Attorneys for Defendant
                                            CBE GROUP, INC.




29738029 v1                                6
              Case 1:17-cv-01909-SCJ Document 1 Filed 05/25/17 Page 7 of 8




                            CERTIFICATE OF COUNSEL

          I hereby certify that the foregoing NOTICE OF REMOVAL has been

prepared with Times New Roman, 14-point font, one of the font and point

selections approved by the Court in LR 5.1, NDGa.


                                          /s/ Rachel R. Friedman
                                         Rachel R. Friedman
                                         Georgia Bar No. 456493
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29738029 v1
              Case 1:17-cv-01909-SCJ Document 1 Filed 05/25/17 Page 8 of 8




                            CERTIFICATE OF SERVICE
          I hereby certify that on this 25th day of May, 2017, a true and correct copy

of the foregoing document has been served via United States First Class Mail,

postage prepaid, on the following:

                                     Bria Maddox
                             1925 Monroe Drive NE #1705
                                  Atlanta, GA 30324



                                               /s/ Rachel R. Friedman
                                               Of Counsel




29738029 v1
